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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Mary Hildebrandt, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:10−cv−08202
                                                       Honorable Matthew F. Kennelly
Omni Credit Services of Florida
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 23, 2011:


        MINUTE entry before Honorable Matthew F. Kennelly: Motion to reopen case [9]
is withdrawn. (mk)




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